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WESTERN DISTRICT OF WASHINGTON OCT 12 2071
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WESTERN DISTRICT OF WASHINGTON
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October 4, 2021 ae, 4
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oc Rey,
King County Superior Court ‘hiss
516 3rd Ave Toy
E-609
Seattle, WA 98104
RE:

Case #2:21—cv—00270-BJIR.

Dear Clerk:

Please find enclosed the certified copy of Judge Barbara J. Rothstein's Order Remanding Case to State Court
in the above-referenced case. A certified copy of the docket sheet is also included,

Please return the copy of this cover letter with the following information:

Superior Court Case Number(s): 21=2-02856—6 SEA
Assigned to Judge:

 

Completed by Deputy Clerk:

 

Thank you in advance for your cooperation and assistance.
Sincerely,

s/Michael Williams,

Deputy Clerk

Enclosures
